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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOM A

ROBERT FRANCIS QUINN,                      )
                                           )
             Plaintiff,                    )
                                           )
vs.                                        )              Case No. CIV-05-396 R
                                           )
UNIVERSITY OF OKLAHOMA,                    )
                                           )
             Defendant.                    )

                              ENTRY OF APPEARANCE

      To the Clerk of this Court and all counsel of record:

             Enter my appearance as counsel in this case for: Plaintiff Robert Francis Quinn.

             I certify that I am admitted to practice in this Court.

                                                  s/ James L. Bintz    September 11, 2006
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                                   Certificate of Service

       I hereby certify that on September 11, 2006, I electronically transmitted the attached

document to the Clerk of Court using the ECF filing system. Based on the records currently

on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following ECF

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